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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

YIFAN SHEN, et al.,
Plaintiffs,
v. Case No. 4:23-cv-208-AW-MAF
WILTON SIMPSON, etc., et al.,
Defendants.

STIPULATION AND JOINT MOTION OF PLAINTIFFS
AND DEFENDANT STATE ATTORNEYS FOR STAY

All Plaintiffs in this action and Defendant State Attorneys R.J. Larizza,
Monique Worrell, and Katherine Fernandez Rundle, in their official capacities as
the State Attorneys of their respective judicial circuits of the State of Florida, and
on behalf of themselves, their offices, their successors in office, and all personnel
acting on behalf of their respective offices (“Defendant State Attorneys”) (together,
the “Stipulating Parties”) stipulate and jointly move for a stay of all deadlines for
the Defendant State Attorneys, subject to the conditions set forth below. The other
Defendants in this action—Wilton Simpson, Meredith Ivey, and Patricia Fitzgerald
—do not oppose this Stipulation and Joint Motion for a Stay.

District courts have broad, discretionary authority to decide how to manage

their dockets, including the ability to issue stays. Johnson v. Bd. of Regents of
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Univ. of Ga., 263 F.3d 1234, 1269 (11th Cir. 2001) (“[Wle accord district courts
broad discretion over the management of pre-trial activities, including discovery
and scheduling.”); Jolly v. Hoegh Autoliners Shipping AS, 2021 WL 1822758
(M.D. Fla. Apr. 5, 2021); see also Dietz v. Bouldin, 136 S. Ct. 1885, 1892 (2016)
(“[Dlistrict courts have the inherent authority to manage their dockets and
courtrooms with a view toward the efficient and expedient resolution of cases.”).

Here, a stay is reasonable and supported by good cause because it will
simplify the issues in question, reduce the burden of litigation, and will not burden
the other defendants. See Chico v. Dunbar Armored, Inc., 2017 WL 4476334, at *2
(S.D. Fla. Oct. 6, 2017).

In light of the foregoing, the Stipulating Parties enter into the following
stipulations and agreements, and make the following joint motion:

1. The Stipulating Parties hereby jointly move to stay all deadlines for
the Defendant State Attorneys in this case, subject to the conditions herein. If such
a stay is entered, Plaintiffs will not seek to lift the stay over the Defendant State
Attorneys’ objection, absent good cause.

2. The stay of all deadlines for the Defendant State Attorneys set forth in
Paragraph 1 will be conditioned upon, and subject to the agreement of, each

Stipulating Party as follows:
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a. Each Defendant State Attorney, in their official capacity, agrees
(on behalf of themselves, their offices, their successors in office, and all
personnel acting on behalf of their respective offices) to the following:

L. To comply with and be bound by the terms of any
injunction, preliminary or permanent, that may be entered in this
matter against Defendants Wilton Simpson, in his official capacity as
Florida Commissioner of Agriculture, Meredith Ivey, in her official
capacity as Acting Florida Secretary of Economic Opportunity,
and/or Patricia Fitzgerald, in her official capacity as Chair of the
Florida Real Estate Commission.

li. Not to enforce (or seek to enforce) an enjoined provision
of SB 264 (2023)! during the time such an injunction is in place, or
against conduct that was protected by such an injunction at the time
that conduct occurred, even if such injunction was later vacated; and

ili. That any judgment in this action declaring SB 264
unconstitutional will be binding on themselves, their respective
offices, successors in office, and all personnel acting on behalf of

their respective offices.

' Laws of Fla. ch. 2023-33, §§ 3-8, at 5-15 (CS for CS for SB 264) (to be codified at Fla. Stat.
§§ 692.201-.205).
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3. The Stipulating Parties agree that, upon Court approval of this
agreement and joint motion, the Court may enforce this agreement as necessary
and appropriate in the adjudication of this matter and in the enforcement of its
orders or judgment entered in this matter.

4. The Stipulating Parties agree not to seek costs or fees against the
other.

CERTIFICATE OF CONFERRAL

Consistent with Local Rule 7.1(B), counsel for Plaintiffs conferred by
telephone and email with counsel for the State Attorney Defendants. As discussed
above, Plaintiffs and the State Attorney Defendants bring this motion jointly. In
addition, counsel for Plaintiffs conferred by telephone with counsel for the other
Defendants (Commissioner Simpson, Acting Secretary Ivey, and Chair Fitzgerald),
who do not oppose this motion.

LOCAL RULE 7.1(F) CERTIFICATE

This motion contains 833 words.

Dated: June 28, 2023

Respectfully submitted,

/s/ Ashley Gorski

Ashley Gorski Arthur I. Jacobs

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